     Case 3:05-cr-00087-RV-MD           Document 149       Filed 03/21/08    Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                      CASE NO.     3:05cr87 RV and
                                                                            3:06cv559 RV/MD
RODRIGO ULLO MARTINEZ
a/k/a CHINO
a/k/a RODRIGO MARTINEZ-ULLOA

                                    REFERRAL AND ORDER

Referred to Judge Vinson on 03/20/2008
Type of Motion/Pleading LETTER/NOTICE THAT DEFENDANT DID NOT RECEIVE
ORDER ON REPORT AND RECOMMENDATION
Filed by: Defendant              on 3/19/08      Doc. No. 147
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT
                                                 s/D. Bajzik
                                               Deputy Clerk

                                               ORDER
 Upon consideration of the foregoing, it is ORDERED this    21st day of
    March                 , 2008, that:
      The order and judgment entered July 2, 2007, were mailed to the
defendant on that date, but returned to the Court as undeliverable by
the postal service. Therefore, the order adopting the report and
recommendation (doc. 135) and the judgment (doc. 136) are hereby
VACATED AND SET ASIDE.



                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE



Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
